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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
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   11 LOS ANGELES SMSA LIMITED          ) Case No. 2:16-cv-04954-FLA (SKx)
   12 PARTNERSHIP, a California limited )
      partnership dba VERIZON WIRELESS, ) JUDGMENT AND ORDER
   13                                   )
   14                       Plaintiff,  )
                                        )
   15              v.                   )
                                        )
   16                                   )
      CITY OF LOS ANGELES,
   17 CALIFORNIA,                       )
                                        )
   18                       Defendant.  )
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                                        )
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    1         IT IS ORDERED, ADJUDGED, AND DECREED THAT judgment is entered
    2   in favor of Plaintiff Los Angeles SMSA Limited Partnership, a California limited
    3   liability company dba Verizon Wireless (“Plaintiff” or “Verizon”) and against
    4   Defendant City of Los Angeles (“Defendant” or “City”) on the second cause of
    5   action for violation of 47 U.S.C. § 332(c)(7)(B)(i)(II) and the fourth cause of action
    6   for petition for writ of mandate under California Code of Civil Procedure § 1094.5
    7   because the City’s Area Planning Commission’s December 3, 2018 written decision
    8   (“Denial Decision”) denying Verizon’s permit application, submitted to the City on
    9   or about July 27, 2017, to place, install, construct, and operate personal wireless
   10   service facilities at 2512 South Robertson Boulevard, Los Angeles, California
   11   (“2017 Application”), had the effect of prohibiting Verizon from providing personal
   12   wireless services in violation of 47 U.S.C. § 332(c)(7)(B)(i)(II), because the Denial
   13   Decision constituted a prejudicial abuse of the City’s discretion, and because the
   14   City failed to proceed in a manner required by law.
   15         IT IS FURTHER ORDERED THAT the City’s Denial Decision regarding the
   16   2017 Application is set aside, vacated, and rescinded.
   17         IT IS FURTHER ORDERED THAT, because the City violated 47 U.S.C. §
   18   332(c)(7)(B)(i)(II) and California Code of Civil Procedure § 1094.5, an injunction is
   19   issued requiring Defendant City to issue, on or before 10 days after entry of
   20   Judgment, all zoning and land use entitlement permits and approvals regarding the
   21   2017 Application, including the Conditional Use Permit No. 2017-3013(CUW),
   22   issued by the City’s Associate Zoning Administrator David S. Weintraub on July 6,
   23   2018, subject to the terms and conditions of approval attached as Exhibit 1 hereto
   24   and incorporated herein by this reference; and the categorical exemption from
   25   California Environmental Quality Act (CEQA) pursuant to CEQA Guidelines (14
   26   Cal. Code Regs. § 15000 et seq.) §§ 15303 and 15301 and City CEQA Guidelines-
   27   Class 3, Category 4. The City also shall timely file a notice of exemption related to
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    1   the CEQA exemption, as required by law, on or before 10 days after entry of
    2   Judgment.
    3         IT IS FURTHER ORDERED THAT the City shall timely review, comment
    4   upon, and process Verizon’s building permit and related construction permit
    5   application materials, and the City shall timely issue all such construction-related
    6   permits for the 2017 Application based on complete application materials submitted
    7   by Verizon to the City.
    8         IT IS FURTHER ORDERED THAT the court shall retain jurisdiction to
    9   enforce this Judgment, under the court’s ancillary jurisdiction to enforce its own
   10   orders and decrees.
   11         Costs are awarded to Plaintiff Verizon.
   12         IT IS SO ORDERED.
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        Dated: November 2, 2021                _____________________________
                                               FERNANDO L. AENLLE-ROCHA
   15                                          United States District Judge
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                                        EXHIBIT 1
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    1                             CONDITIONS OF APPROVAL
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                                 [CASE NO. ZA-2017-3013(CUW)]

    3        1.     All other use, height and area regulations of the Municipal Code and all
      other applicable government/regulatory agencies shall be strictly complied with in
    4 the development and use of the property, except as such regulations are herein

    5 specifically varied or required.

    6       2.     The use and development of the property shall be in substantial
    7 conformance with the plot plan submitted with the application and marked Exhibit
      “A,” date stamped June 27, 2018, except as may be revised as a result of this action.
    8

    9       3.     The authorized use shall be conducted at all times with due regard for
      the character of the surrounding district, and the right is reserved to the Zoning
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      Administrator to impose additional corrective Conditions, if, in the Administrator’s
   11 opinion, such Conditions are proven necessary for the protection of persons in the
      neighborhood or occupants of adjacent property.
   12

   13          4.     All graffiti on the site shall be removed or painted over to match the
        color of the surface to which it is applied within 24 hours of its occurrence.
   14

   15        5.     A copy of the first page of this grant and all Conditions and/or any
      subsequent appeal of this grant and its resultant Conditions and/or letters of
   16
      clarification shall be printed on the building plans submitted to the Zoning
   17 Administrator and the Department of Building and Safety for purposes of having a
      building permit issued.
   18

   19         6.      Authorization.
   20              a. The subject Wireless Telecommunications Facility (WTF) shall consist
                      of the following:
   21
                          A maximum 52-foot high mono-eucalyptus, with a minimum of
   22                      172 branches and associated foliage (as detailed in Exhibit "A",
   23                      date stamped June 27, 2018.
                          A maximum of twelve (12) panel antennas, 8-foot in height.
   24
                          Eighteen (18) new radios.
   25                     Three (3) new wireless raycaps.
   26
                          Faux eucalyptus tree branches and "socks" containing antennas,
                           radios and raycaps, with centerline at approximately 43 feet
   27                      above the finished grade, shall significantly hide them from view
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                           from abutting and adjacent public rights-of way.

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    1            b. The proposed 8-foot high, 10’-8" x 13’-8," lease area with CMU wall
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                    enclosure at grade shall contain the following:
                          Two (2) wireless MCE equipment cabinets.
    3
                          One (1) new 15 kw/54 gallon diesel standby generator mounted
    4                       on a new concrete slab.
    5                     One (1) new wireless GPS antenna.
                          One (1) new wireless meter.
    6                     The CMU enclosure shall have stucco finish, painted and
    7                       textured to match the existing commercial building on site.
    8            c. The project site, the base of the mono-eucalyptus structure, the enclosed
                    lease area, shall be landscaped and maintained in accordance with a
    9               landscape and irrigation plan, prepared by a licensed landscape
   10               architect, licensed architect, or licensed landscape contractor, to the
                    satisfaction of the Department of City Planning, including, but not
   11               limited to, the following:
   12                      1) The perimeter of the proposed 8-foot high CMU wall shall be
   13
                              landscaped with live 20-gallon shrubs and bushes to grow and
                              mature, and Morning Glory or Creeping Fig shall be planted
   14                         along the wall so that the said wall is completely screened in a
   15
                              reasonable period of time (2 to 3 years), to match and/or
                              complement the color of the mono-eucalyptus.
   16
                           2) The perimeter of the mono-eucalyptus base shall be
   17                         landscaped with a planter area fully covered with live 20-
                              gallon shrubs and bushes to mature to a height of 3.5 to 6 feet
   18
                              to provide a green space all around the base and complement
   19                         the subject faux tree.
   20        7.    Prior to the issuance of a building permit, the project proponent shall
   21 submit a Structural Integrity Report from a professional engineer licensed in the
      State of California to the satisfaction of the Department of Building and Safety.
   22

   23       8.    All new utility lines that directly service the site shall be installed
      underground. If underground service is not currently available, then provisions shall
   24 be made for future underground service.

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              9.     The subject grant shall not be exercised in a manner to conflict with the
   26   potential co-location of other carriers on the subject site.
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    1       10. The electronic equipment shall be installed and constructed with valid
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      City of Los Angeles building permit(s).

    3       11. All applicable laws, regulations and standards of all local, state, and
    4
      federal government agencies shall be observed.

    5       12. Radio Frequency. The facility shall not interfere with TV, radio, or
    6
      cordless telephone reception or exceed RF limits established by the Federal
      Communications Commission.
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            13. Should use of the granted right cease more than 90 days, the antennas
      and equipment shall be removed to the satisfaction of the Department of Building
    9 and Safety.

   10
      OBSERVANCE OF CONDITIONS – TIME LIMIT – LAPSE OF
   11 PRIVILEGES

   12
               All terms and conditions of the approval shall be fulfilled before the use may
   13   be established. The instant authorization is further conditional upon the privileges
   14   being utilized within three years after the effective date of approval and, if such
        privileges are not utilized or substantial physical construction work is not begun
   15   within said time and carried on diligently to completion, the authorization shall
   16   terminate and become void.

   17   TRANSFERABILITY
   18
            This authorization runs with the land. In the event the property is to be sold,
   19 leased, rented, or occupied by any person or corporation other than yourself, it is

   20 incumbent upon you to advise them regarding the conditions of this grant.

   21   VIOLATIONS OF THESE CONDITIONS, A MISDEMEANOR
   22
        Section 12.29 of the Los Angeles Municipal Code provides:
   23

   24         A variance, conditional use, adjustment, public benefit or other quasi-
              judicial approval, or any conditional approval granted by the
   25         Director, pursuant to the authority of this chapter shall become
   26         effective upon utilization of any portion of the privilege, and the
              owner and applicant shall immediately comply with its Conditions.
   27         The violation of any valid Condition imposed by the Director,
   28         Zoning Administrator, Area Planning Commission, City Planning

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    1         Commission or City Council in connection with the granting of any
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              action taken pursuant to the authority of this chapter, shall constitute
              a violation of this chapter and shall be subject to the same penalties
    3         as any other violation of this Code.
    4
             Every violation of this determination is punishable as a misdemeanor and
    5 shall be punishable by a fine of not more than $2,500 or by imprisonment in the

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      county jail for a period of not more than six months, or by both such fine and
      imprisonment.
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